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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
v. : CRIMINAL NO, 4:23-CR-00360
MARTEZ TYREL FOLEY, :
Defendant. §
PLEA AGREEMENT

The United States of America, by and through Nicholas J. Ganjei, United States Attorney
for the Southern District of Texas, Kelly Zenén-Matos, Assistant United States Attorney, and
Sarah J. Rasalam and Justin G. Bish, Trial Attorneys for the Department of Justice, and the
defendant, MARTEZ TYREL FOLEY (“Defendant”), and Defendant’s counsel, JoAnne Musick,
pursuant to Rule 11(c)(1)(A) & (B) of the Federal Rules of Criminal Procedure, state that they
have entered into an agreement, the terms and conditions of which are as follows:

Defendant’s Agreement

L, Defendant agrees to plead guilty to Counts One and Four of the Superseding
Indictment. Count One charges Defendant with Conspiracy to Interfere with Commerce by
Robbery, in violation of Title 18, United States Code, Section 1951(a}. Count Four charges
Defendant with Use and Carry of a Firearm During and in Relation to a Drug Trafficking Crime,
Aiding and Abetting, in violation of Title 18, United States Code, Sections 924(c)(1)(A) and 2.
Defendant, by entering this plea, agrees that he is waiving any right to have the facts that the law
makes essential to the punishment either charged in the Superseding Indictment, or proved to a

jury or proven beyond a reasonable doubt.

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Punishment Range

2, The statutory maximum penalty for a violation of Title 18, United States Code,
Section 1951(a), is an imprisonment term of not more than 20 years and a fine of not more than
$250,000, Additionally, Defendant may receive a term of supervised release after imprisonment
of not more than 3 years. See Title 18, United States Code, Sections 3559(a)(2) and 3583(b)(2),
Defendant acknowledges and understands that if he should violate the conditions of any period of
supervised release which may be imposed as part of his sentence, then Defendant may be
imprisoned for not more than 3 years, without credit for time already served on the term of
supervised release prior to such violation, See Title 18, United States Code, Sections 3559(a)(2)
and 3583(e)(3).

3, The statutory penalty for a violation of Title 18, United States Code, Section
924(c)(1)(A) and 2, is a minimum imprisonment term of five years, a maximum imprisonment
term of not more than life and a fine of not more than $250,000. Additionally, Defendant may
receive a term of supervised release after imprisonment of not more than 5 years, See Title 18,
United States Code, Sections 3559(a)(1) and 3583(b)(1). Defendant acknowledges and
understands that if he should violate the conditions of any period of supervised release which may
be imposed as part of his sentence, then Defendant may be imprisoned for not more than 5 years,
without credit for time already served on the term of supervised release prior to such violation. See
Title 18, United States Code, Sections 3559(a)(1) and 3583(e)(3). Defendant understands that the
sentence for this count shall run consecutively with any other term of imprisonment imposed,
Defendant understands that he cannot have the imposition or execution of the sentence suspended,

nor is he eligible for parole.

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Mandatory Special Assessment

4, Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after
sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment
in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by
cashier’s check or money order, payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.

Immigration Consequences

5, Defendant recognizes that pleading guilty may have consequences with respect to
his immigration status. Defendant understands that if he is not a citizen of the United States, by
pleading guilty he may be removed from the United States, denied citizenship, and denied
admission to the United States in the future. Defendant understands that if he is a naturalized
United States citizen, pleading guilty may result in immigration consequences, such as
denaturalization and potential deportation or removal from the United States, Defendant’s attorney
has advised Defendant of the potential immigration consequences resulting from Defendant’s plea
of guilty, and Defendant affirms that he wants to plead guilty regardless of any immigration
consequences that may result from the guilty plea and conviction.

Waiver of Appeal, Collateral Review, and Statute of Limitations

6, Defendant is aware that Title 28, United States Code, Section 1291, and Title 18,
United States Code, Section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255, affords
the right to contest or ‘‘collaterally attack” a conviction or sentence after the judgment of conviction

and sentence has become final. Defendant knowingly and voluntarily waives the right to appeal or

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“collaterally attack” the conviction and sentence, except that Defendant does not waive the right

to raise a claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on
collateral review in a motion under Title 28, United States Code, Section 2255, In the event
Defendant files a notice of appeal following the imposition of the sentence or later collaterally
attacks his conviction or sentence, the United States will assert its rights under this agreement and
seek specific performance of these waivers,

7. Defendant also agrees that should the conviction following the defendant’s plea of
guilty pursuant to this Agreement be vacated for any reason, then any prosecution that is not time-
barred by the applicable statute of limitations on the date of the signing of this agreement
(including any counts that the United States has agreed to dismiss at sentencing pursuant to this
Agreement) may be commenced or reinstated against the defendant, notwithstanding the
expiration of the statute of limitations between the signing of this Agreement and the
commencement or reinstatement of such prosecution, It is the intent of this Agreement to waive
all defenses based on the statute of limitations with respect to any prosecution that is not time-
barred on the date that this Agreement is signed.

8. In agreeing to these waivers, Defendant is aware that a sentence has not yet been
determined by the Court, Defendant is also aware that any estimate of the possible sentencing
range under the Sentencing Guidelines that he may have received from his counsel, the United
States or the Probation Office, is a prediction and not a promise, did not induce his guilty plea, and
is not binding on the United States, the Probation Office or the Court. The United States does not
make any promise or representation concerning what sentence the defendant will receive.

Defendant further understands and agrees that the United States Sentencing Guidelines are

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“effectively advisory” to the Court, See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.
9, Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by the United States in this plea
agreement,
The United States’ Agreements
10, The United States agrees to each of the following:

(a) If Defendant pleads guilty to Counts One and Four of the
Superseding Indictment and persists in that plea through sentencing, and if the
Court accepts this plea agreement, the United States will move to dismiss any
remaining counts of the Superseding Indictment at the time of sentencing. The
Defendant agrees that with respect to any and all dismissed charges he is not a
‘prevailing party within the meaning of the ‘Hyde Amendment,’ Section 617, P.L.
105-119 (Nov. 26, 1997), and will not file any claim under that law.

(b) Ifthe Court determines that Defendant qualifies for an adjustment
under U.S.S.G. § 3E1.1(a), and the offense level prior to operation of § 3E1.1(a) is
16 or greater, the United States will move under § 3E1.1(b) for an additional one-
level reduction because Defendant timely notified authorities of his intent to plead
guilty, thereby permitting the United States to avoid preparing for trial and
permitting the United States and the Court to allocate their resources more
efficiently.

(c} If the Defendant pieads guilty to Counts One and Four of the
Superseding Indictment and persists in that plea through sentencing, and if the court
accepts the plea agreement, the United States agrees to recommend a sentence
within the applicable guideline range as to Count One and the guideline
recommended sentence as to Count Four.

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Agreement Binding - Southern District of Texas Only
11. The United States Attorney’s Office for the Southern District of Texas agrees that
it will not further criminally prosecute Defendant in the Southern District of Texas for the specific
conduct described in the Superseding Indictment. This plea agreement binds only the United States
Attorney’s Office for the Southern District of Texas and Defendant. It does not bind any other
United States Attorney’s Office. The United States Attorney’s Office for the Southern District of
Texas will bring this plea agreement and the full extent of Defendant’s cooperation to the attention
of other prosecuting offices, if requested.
United States’ Non-Waiver of Appeal
12. The United States reserves the right to carry out its responsibilities under guidelines
sentencing. Specifically, the United States reserves the right:
(a) to bring the facts of this case, including evidence in the files of the
United States Attorney’s Office for the Southern District of Texas or the files of
any investigative agency, to the attention of the Probation Office in connection with
that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to
sentencing;

(c) to seek resolution of such factors or facts in conference with
Defendant’s counsel and the Probation Office;

(d) to file a pleading relating to these issues, in accordance with section
6A1.2 of the United States Sentencing Guidelines and Title 18, United States Code,
Section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was
determined.

Sentence Determination

13. Defendant is aware that the sentence will be imposed after consideration of the

United States Sentencing Guidelines and Policy Statements, which are only advisory, as well as
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the provisions of Title 18, United States Code, Section 3553(a). Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any sentence up to and including
the statutory maximum set for the offenses to which Defendant pleads guilty, and that the sentence
to be imposed is within the sole discretion of the sentencing judge after the Court has consulted
the applicable Sentencing Guidelines, Defendant understands and agrees that the parties’ positions
regarding the application of the Sentencing Guidelines do not bind the Court and that the sentence
imposed is within the discretion of the sentencing judge. If the Court should impose any sentence
up to the maximum established by statute, or should the Court order any or all of the sentences

imposed to run consecutively, Defendant cannot, for that reason alone, withdraw a guilty plea, and

will remain bound to fulfill all of the obligations under this plea agreement.

Rights at Trial

14. Defendant understands that by entering into this agreement, he surrenders certain

rights as provided in this plea agreement. Defendant understands that the rights of a defendant
include the following:

(a) If Defendant persisted in a plea of not guilty to the charges,
Defendant wouid have the right to a speedy jury trial with the assistance of counsel.
The trial may be conducted by a judge sitting without a jury if Defendant, the United
States, and the court all agree.

(b) = Ata trial, the United States would be required to present witnesses
and other evidence against Defendant. Defendant would have the opportunity to
confront those witnesses and his attorney would be allowed to cross-examine them.
In turn, Defendant could, but would not be required to, present witnesses and other
evidence on his own behalf. If the witnesses for Defendant would not appear
voluntarily, he could require their attendance through the subpoena power of the
court; and

(c) At a trial, Defendant could rely on a privilege against self-
incrimination and decline to testify, and no inference of guilt could be drawn from

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such refusal to testify. However, if Defendant desired to do so, he could testify on
his own behalf.

Factual Basis for Guilty Plea
15. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Counts One and Four of the Superseding Indictment. If this case were to proceed to trial, the United
States could prove each element of the offense beyond a reasonable doubt. The following facts,
among others would be offered to establish Defendant’s guilt:

In or about 2023, three cooperating human sources (““CS-1,” “CS-2,” and CS-3”) working
with the Federal Bureau of Investigation were introduced to codefendant Blake Robertson, a/k/a,
RICO, (“Robertson”) a resident of Houston, TX. During conversations between Robertson and
the CSs, a “play” or a robbery of firearms and drugs stored in a trailer was discussed,

In or about carly August of 2023, Robertson and CS-3, who was introduced to Robertson
as a firearms dealer, agreed to meet in a hotel in Houston, TX, on August 7, 2023, to discuss the
details of the robbery.

On August 7, 2023, at approximately 11:05 a.m., Robertson arrived at the Homewood
Suites by Hilton Houston at 8950 Fallbrook Drive to discuss with CS-3 the details of the robbery
to take place later that same day, CS-3 explained that the trailer to be robbed contained
approximately 30 kilograms of cocaine and 400 firearms. CS-3 also revealed that two individuals
were going to be guarding the trailer. CS-3 agreed to pay Robertson an initial fee of $2,500 for
the crew that was going to participate in the robbery. Robertson departed the hotel to get the rest

of his crew, which included Defendant.

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A couple of hours later, codefendants Harry Keith Dwyan Goffney (“Goffney”) and Kermit
Ladell Johnson (‘Johnson’) arrived at the Homewood Suites and met with CS-3. At
approximately 2:50 p.m, Defendant and Tracy Lee Stevenson (“Stevenson”), arrived at the hotel
to join the meeting. Co-defendant Johnson explained the robbery plan to the group. During the
conversation, CS-3 again mentioned that they were going to take “30 kilos” and firearms. After
the explanation, the four individuals, including Defendant and CS-3, departed the hotel towards
the location of the trailer. The conversation between CS-3 and the four individuals, including
Defendant, was recorded on video and audio, In addition, video surveillance from the hotel
captured the arrival and departure of all four individuals, including Defendant.

At around 3:25 p.m.,, three vehicles arrived at the location of the trailer: 4200 N. Eldridge
Parkway. CS-3 pointed to the gate and departed the location. Video cameras placed by the FBI
recorded the movements of all four individuals, including Defendant. Upon arrival, Johnson,
Goffney, Stevenson, and Defendant approached the gate wearing masks and gloves and attempted
to break the lock but were unsuccessful. Johnson, Goffney, and Defendant jumped the gate, while
Stevenson stayed at the gate. Defendant was observed in the video recording carrying a duffle
bag as he walked towards the trailer. Johnson, Goffney, and Defendant approached the trailer
covered with a tarp. Defendant was observed carrying a duffle bag and handgun while approaching
the trailer,

Johnson, Goffney, and Defendant opened the trailer and began to search the same, not

finding anything.

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Johnson, Goffney, and Defendant walked back towards the gate. However, Johnson and
Stevenson returned a few minutes later to search the trailer again. Eventually, the four individuals
entered their vehicles, and departed the location.

At around 4:40 p.m. of that same day, Houston Police Department officers conducted a
traffic stop of a Nissan Altima for failure to signal lane change. Stevenson was identified as the
driver, while Defendant was identified as the passenger. An inventory search of the vehicle
revealed a bag containing a liquid similar to urine on the passenger side area. Defendant was
questioned as to the nature of the container and admitted that he was going to use the liquid during
an upcoming drug test to avoid problems with his parole. Defendant was arrested. An inventory
search of the vehicle also revealed pieces of clothing that both Stevenson and Defendant wore
during the attempted robbery.

Defendant hereby admits that on August 7, 2023, he conspired and agreed with the other
defendants charged in Count One of the Superseding Indictment to obstruct, delay, and affect
interstate commerce and the movement of any articles and commodities in commerce by means of
a robbery.

Defendant also admits that on August 7, 2023, while aiding and abetting others charged in
Count Four, he carried a firearm during and in relation to a drug trafficking crime, that is, a
violation of 21 U.S.C, § 846.

Breach of Plea Agreement

16. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand. If at any time Defendant retains,

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conceals, or disposes of assets in violation of this plea agreement, including required financial
information, or if Defendant knowingly withholds evidence or is otherwise not completely truthful
with the United States, then the United States may move the Court to set aside the guilty plea and
reinstate prosecution, Any information and documents that have been disclosed by Defendant,
whether prior to or subsequent to this plea agreement, and all leads derived therefrom, will be used
against Defendant in any prosecution.

Monetary Penalties, Assets and Financial Disclosures

17, Defendant understands and agrees that monetary penalties will be subject to
immediate enforcement as provided in 18 U.S.C. § 3613 and that monetary penalties will be
submitted to the Treasury Offset Program so that payments to the Defendant may be applied to
federal debts.

18, Defendant understands that restitution, forfeiture, and fines are separate
components of sentencing and are separate obligations. Defendant agrees to take all steps
necessary to pass clear title to forfeitable assets to the United States and to assist fully in the
collection of restitution and fines. Subject to the provisions of paragraph 7 above, Defendant
waives the right to challenge in any manner, including by direct appeal or in a collateral
proceeding, any restitution order, any forfeiture orders, and any fines.

Financial Statement

19, Defendant agrees to truthfully complete under penalty of perjury, within thirty days
of the execution of this Plea Agreement, a financial statement on a form provided by the United
States Attorney’s Office and to update the statement within seven days of any material change.

Defendant also agrees to make full disclosure to the United States Probation Office of all current

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and anticipated assets in which Defendant has an interest both before sentencing and again before
termination of supervised release or probation, with such disclosures to be shared with the United
States Attorney’s Office.

20. Defendant further agrees not to dispose or transfer any asscts without the prior
written permission of the United States and to authorize the release of all financial information
requested by the United States, including, but not limited to, credit histories and tax returns.
Defendant agrees to discuss and answer any questions by the United States relating to Defendant’s
financial disclosure, including in a deposition or informal debtor exam, whether before or after
sentencing.

Complete Agreement

21. This written plea agreement, consisting of 15 pages, including the attached
addendum of Defendant and his attorney, constitutes the complete plea agreement between the
United States, Defendant, and Defendant’s counsel. Other than any written proffer agreement(s)
that may have been entered into between the United States and Defendant, this agreement
supersedes any prior understandings, promises, agreements, or conditions between the United
States and Defendant. No additional understandings, promises, agreements, or conditions have
deen entered into other than those set forth in this agreement, and none will be entered into unless
in writing and signed by all parties. Defendant acknowledges that no threats have been made

against him and that he is pleading guilty freely and voluntarily because he is guilty.

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Any modification of this plea agreement must be in writing and signed by all parties.

By:

Filed at a Hows Com. Texas, on bby e. J oC 20 2, a
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Martey Ts yrel Fi oley

Defendant-""

Subscribed and sworn to before me on tbe aes 7 ¢ , 20 AS ~
NATHAN KYLE OCHSNER

UNITED STATES DISTRICT CLERK

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DepyUnited fates District Clerk

APPROVED:

NICHOLAS J. GANJEI
UNITED STATES ATTORNEY

Ke’ Siew on-Mitps (JoA Jo oh Musick
Assistant United Statés Attorney ‘A ttérney for Defendant

Southern District of Texas

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED STATES OF AMERICA §
§
v. § CRIMINAL NO. 4:23-CR-00360
§
MARTEZ TYREL FOLEY, §
Defendant. §

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending Superseding
Indictment. I have reviewed the provisions of the United States Sentencing Commission’s
Guidelines Manual and Policy Statements, and I have fully and carefully explained to Defendant
the provisions of those Guidelines which may apply in this case. I have also explained to Defendant
that the Sentencing Guidelines are only advisory, and the court may sentence Defendant up to the
maximum allowed by statute per count of conviction. I have also explained to Defendant that
sentences on multiple counts may be imposed to run consecutively to one another or to any other
sentence. Further, I have carefully reviewed every part of this plea agreement with Defendant. To
my knowledge, Defendant’s decision to enter into this agreement is an informed and voluntary

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( Jo lane Musick ad Date
Aftorney for Defendant

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T have consulted with my attorney and fully understand all my rights with respect to the
Superseding Indictment pending against me. My attorney has fully explained, and I understand,
all my rights with respect to the provisions of the United States Sentencing Commission’s
Guidelines Manual which may apply in my case, I have read and carefully reviewed every part of

this plea agreement with my attorney. I understand this agrecment and I voluntarily agree to its

terms. a
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[ec gio he ATI. Bons
Martez Tyrel Foley Date
Defendant

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